              Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 1 of 13



                            UNITED STATES DISTRICT COURT

                               DISTRICT OF CONNECTICUT



DONALD JONES,                                }

               Plaintiff                     }

                                                     Civil No.
        v.                                   }

                                             }       February23,2018
THE UNITED STATES OF AMERICA,
                                             }
               Defendant



             PLAINTIFF'S COMPLAINT FOR DAMAGES PURSUANT TO THE

                               FEDERAL TORT CLAIMS ACT



       1.      Plaintiff, DONALD JONES, is a citizen of Connecticut, residing at 6 Duffy Street

in Stamford, Connecticut.

       2.      Defendant, United States of America, is duly constituted and sovereign government

of the United States of America.

       3.      At all times material to this complaint, defendant, United States of America,

controlled, employed, and retained Michael Celetto, as United States of America's joint venturer,

agent, servant, employee, and/or ostensible agent.

       4.      At all times material to this complaint, defendant, United States of America,

controlled, employed, and retained Michael Celetto as the United States Postal Service's joint
              Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 2 of 13



venturer, agent, servant, employee, and/or ostensible agent.

        5.      Michael Celetto at all times material to this complaint acted within the course and

scope of his office and employment with defendant, Unites States of America.

        6.      This court has jurisdiction pursuant to the Federal Tort Claims Act, 28 U.S.C.

§§ 1346 (b)(l), for the reason that the plaintiffs claims accrued after January 1, 1945, and are for

money damages for personal injury and loss of property that were proximately caused by the

negligent and wrongful acts and omissions of employees of the federal government while acting

within the scope of their office and employment.

        7.      Venue is proper in this court pursuant to 28 U.S.C. §1391 (e) for the reason that

a substantial part of the events or omissions giving rise to plaintiffs claim occurred within the

judicial district, and the plaintiff resides in this judicial district.

        8.      Plaintiff, at all times relevant to this complaint, owned, operated, controlled, and

drove a motorcycle.

        9.      Michael Celetto, at all times relevant to this complaint, operated, controlled, and

drove a United States Post Office Truck.

        10.     On September 1, 2015, at approximately 2:00 p.m. the motorcycle operated by

plaintiff was traveling southbound on Shippan Avenue, a public highway in Stamford, Connecticut.

        11.      On September 1, 2015 at approximately 2:00 p.m. the U.S. Postal Service truck

operated by Michael Celetto was traveling on Park Street, a side street which forms a T intersection

with the through street, Shippan Avenue.

        12.     The U.S. Postal Service Truck operated by Michael Celetto on Park Street made a

left hand turn onto Shippan Avenue and struck plaintiff and plaintiffs motorcycle, throwing plaintiff


                                                      2
               Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 3 of 13



from his motorcycle onto the roadway and causing severe and disabling injuries.

       13.       At the time the U.S. Postal Service truck operated by Michael Celetto struck plaintiff

and plaintiffs motorcycle, plaintiff had the right of way.

       14.       The above described incident was caused by the negligence and carelessness of

the United States of America, in one or more of the following ways:

       a. In that Michael Celetto failed to make a reasonably safe left-hand turn in violation of
          Connecticut General Statutes, section 14-242; or
       b. In that Michael Celetto failed to bring his vehicle to a halt in obedience of a STOP
          sign in violation of Connecticut General Statutes, section 14-301; or

       c. In that Michael Celetto moved a vehicle which was stopped or standing without
          reasonable safety and without interfering with plaintiffs' vehicle, in violation of
          Connecticut General Statutes, section 14-243, or
       d. In that Michael Celetto was traveling umeasonably fast having regard to the width,
          traffic use of the highway, intersection of streets, and weather conditions, in violation
          of Connecticut General Statutes, section 14-218a; or
       e. In that Michael Celetto failed to grant the right of way by pulling out of Park Street in
          violation of Connecticut General Statutes, section 14-246(a);
       f.     In that Michael Celetto failed to timely apply the brakes in order to avoid the said
              collision; or

       g. In that Michael Celetto was inattentive and failed to maintain a proper lookout for
          other vehicles upon the roadway and pay attention to where he was going before
          pulling out; or

       h. In that Michael Celetto was distracted, and as a result of his distraction, smashed right
          into the path of plaintiffs motorcycle, causing plaintiff to be thrown from his vehicle.

        15.      As a direct and proximate result of the said carelessness and negligence, plaintiff

sustained serious permanent and disabling personal injuries, including, but not limited to,

       a.        fractures of left tibia;

       b.        proximal medial corner avulsion fracture, left;



                                                    3
              Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 4 of 13



        c.     comminuted fracture of left fibula;

        d.     avulsion fracture of the hallux, left;

       e.      comminuted fracture of the calcaneus, left;

        f.     left great toe proximal phalanx fracture;

        g.     left medial thigh laceration with exposed muscle 3 centimeters;

        h.     soft tissue damage to the left knee, edema of the left foot, ankle, and leg without

               deep vein thrombosis;

               frontal scalp laceration above right eye with exposed muscle 6 centimeters;

       J.      head trauma with concussion of the brain;

        k.     bleeding from the left ear;

        1.     right elbow laceration 2 centimeters;

        m.     additional lacerations, and abrasions, and contusions about the body;

        n.     maceration of the skin; and

        o.     a severe shock to his nervous system;

the full extent of which injuries are not yet known, some or all of which are or may be permanent

in nature.

        16.    As a direct and proximate result of the said carelessness and negligence, plaintiff

has undergone and will undergo in the future medical surgeries, procedures, therapies, and tests,

and plaintiff suffered in the past and will continue to suffer in the future aches, pains, mental

anguish, humiliation, disfigurement, physical pain, emotional distress, inconvenience,

limitations and restrictions of his usual activities, and loss of well being that have prevented him

in the past and will prevent him in the future from engaging in his usual activities, pursuits, and


                                                  4
             Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 5 of 13



avocations, with consequent loss of the pleasures and enjoyments of life.

       17.     As a direct and proximate result of the said carelessness and negligence, plaintiff

has been required in the past and may be required in the future to expend various and diverse

sums of money and incur monetary obligations for medical treatment and care, including

surgeries, hospitalizations, medicines, physical therapy, rehabilitation care, therapies, medical-

assistive devices, and treatments.

       18.     As a direct and proximate result of the said negligence and carelessness, plaintiff

has been disabled in the past and will continue to be disabled in the future with a consequent loss

of earnings capacity.

       19.     As a direct and proximate result of the said carelessness and negligence, plaintiff

sustained damage to his prope1iy, including, but not limited to and the loss of his motorcycle.

       20.     Defendant, the United States of America, is liable for personal injury caused by

the negligent or wrongful acts and omissions of Michael Celetto, as a deemed employee of the

federal government while acting within the scope of their office or employment pursuant to the

Federal Tort Claims Act, 28 U.S.C. §§ 1346(b) and 2671 et. seq., to extent the Federal Tmi

Claims Act constitutes a waiver by defendant United States of America of the federal

government's immunity from liability in tmi.

       21.     Plaintiff timely filed in good faith a Standard Form 95 with the Tort Claims

Coordinator, U.S. Postal Service, 141 Weston Street, Room 216, Haiiford, CT 06101 setting

forth administrative tort claims directed at defendant United States of America with required

attachments. Plaintiffs Standard Form 95, without exhibits, is attached to this complaint as

Exhibit A and incorporated by reference.


                                                  5
             Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 6 of 13



       22.     As of this date, which is in excess of six months past the filing of the said claim,

plaintiff's tort claim is deemed denied. Notice of the receipt of claim is attached hereto as

Exhibit B and incorporated by reference,

       23.     Plaintiff's action against defendant, United States of America, has been timely

filed in the United States District Cami, District of Connecticut.

       WHEREFORE, plaintiff claims of defendant, United States of America, damages in the

amount of One Million Seven Hundred Fifty Two Thousand Nine Hundred ($1,752,900.00)

Dollars.

                                              THE



                                       By:
                                              Daniel A. Benjamin,;E . (CT 07512)
                                              Benjamin, Gold & Ti· b, P.C.
                                              350 Bedford Street, Suite 403
                                              Stamford, Connecticut 06901
                                              Phone: 203-425-8500
                                              Email: dan@bgtlawfirm.com




                                                  6
                Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 7 of 13




                            UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT

DONALD JONES,                                 }
          Plaintiff                           }
                                              }       Civil No.
           V.                                 }
                                              }       February 23, 2018
THE UNITED STATES OF AMERICA,                 }
           Defendant                          }

                                       CERTIFICATION

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so

identified, will likely have evidentiary supp01i after a reasonable opportunity for further

investigation or discovery; and (4) the complaint otherwise complies with the requirements of

Rule 11.

       Dated: February 23, 2018

                                                      PLAINTIF/]
                                                                  ',   \   .
                                       By:                             I~
                                               Daniel A. Benjamin,/Es . (CT 07512)
                                               Benjamin, Gold & Tt0yb, P.C.
                                               350 Bedford Street, Suite 403
                                               Stamford, Connecticut 06901
                                               Phone: 203-425-8500
                                               Email: dan@bgtlawfirm.com



                                                  7
                                Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 8 of 13
                                                                       INSTRUCTIONS: Please read carefully the instructions on the                        FORM APPROVED
             CLAIM FOR DAMAGE,                                         reverse side and supply information requested on both sides of this
                                                                                                                                                          0MB NO. 1105-0008
              INJURY, OR DEATH                                         form. Use additional sheet(s) if necessary. See reverse side for
                                                                       additional instructions.

1. Submit to Appropriate Federal Agency:                                                            2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                       (See instructions on reverse). Number, Street, City, State and Zip code.

United States Postal Service                                                                        Donald Jones                       Attorney Daniel Benjamin
                                                                                                    6 Duffy Street                     Benjamin, Gold & Troyb, P.C.
                                                                                                    Stamford, CT 06902                 350 Bedford Street, Suite 403
                                                                                                     Represented by:                   Stamford, CT 06901

                                         4. DATE OF BIRTH             5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                           7. TIME (A.M. OR P.M.)
3. TYPE OF EMPLOYMENT

     D MILITARY       ~ CIVILIAN         04/02/1977                   Single                         09/01/2015                     Tuesday               2:08 PM
                                                                                                                         persons and property involved, the place of occurrence and
8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying
   the cause thereof. Use additional pages if necessary).


Please see attached statement for Basis of Claim and supplemental exhibits submitted together with this claim.




9.                                                                                PROPERTY DAMAGE

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).



                                                                                         THE PROPERTY MAY BE INSPECTED.
BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE
(See instructions on reverse side).


                                                                                                              is for $1500.
2005 Kawasaki ZX636 Lost value of $2900. The motorcycle was valued at $4400 prior to the accident and sold as
10.                                                                     PERSONAL INJURY/WRONGFUL DEATH
                                                                                       THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF
OF THE INJURED PERSON OR DECEDENT.
                                                                                                                           abrasions and
Injuries include: Left grade I open tibia and fibula fracture and a lateral tibial plateau fracture, multiple contusions,
                                                                                                                          required
lacerations to forehead and left leg requiring sutures. Broken bones in both feet and to several toes. The injuries
multiple surgeries, follow-up treatment and extended rehabilitation and physical and occupational therapy.

11.                                                                                     WITNESSES

                                NAME                                                                  ADDRESS (Number, Street, City, State, and Zip Code)


                        Chris Liaraldi                                           work address: Cafe Silvium, 371 Shippan Ave, Stamford, CT 06902

                      Cynthia Ramirez                                             work address: Bagel Lox, 351 Shippan Ave, Stamford, CT 06902

                          Burim lsaku                                              work address: Bagel Lox, 351 Shippan Ave, Stamford, CT 06902

 12. (See instructions on reverse}.                                          AMOUNT OF CLAIM (in dollars)

                                           12b.PERSONAL INJURY                                 12c. WRONGFUL DEATH                    12d. TOTAL (Failure to specify may cause
 12a. PROPERTY DAMAGE
                                                                                                                                           forfeiture of your rights).


 2,900.00                                  1,750,000                                                                                  1,752,900
                                                                                            ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
 I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT
 FULL SA TIS FACTION A N ~ L SETTLEMENT OF THIS CLAIM.

                                                                                                     13b. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE
~GNAT~RE OF Clf-lMAf (See instructions on reverse side).

 ~        '\\,J,.
                      7t,.      ,,..r-. ,(',,~     A       Jttt:M!vt~J),,t,KJMd                      203-425-8500                                              07/26/2017
                                I' IL PENALTY FOk PRESENTING /
                               1/      FRAUDULENT CLAIM
                                                                                      :Jo1JP5                     CRIMINAL PENAL TY FOR PRESENTING FRAUDULENT
                                                                                                                       CLAIM OR MAKING FALSE STATEMENTS

 The claimant is liable to the United States Government for a civil penalty of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
 $5,000 and not more than $10,000, plus 3 limes the amount of damages sustained
 by the Government. (See 31 U.S.C. 3729).
                                                                                 NSN 7540-00-634-4046                                           STANDARD FORM 95 (REV. 2/2007)
 Authorized for Local Reproduction
                                                                                                                                                PRESCRIBED BY DEPT. OF JUSTICE
 Previous Edition is not Usable                                                                                                                 28 CFR 14.2
 95-109


                                                                                 EXHIBIT A
                                 Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 9 of 13
                                                                                  INSURANCE COVERAGE

                                                                                                                         regarding the insurance coverage of the vehicle or property.
In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information

15. Do you carry accident Insurance?      [gjYes    If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number.
                                                                                                                                                                                  D No


Geico Indemnity Company, Buffalo/New Jersey Claim, PO Box 9515, Fredericksburg. VA 22403-9515
Policy Number 4100647900


16. Have you filed a claim with your insurance carrier in this instance, and if so, is ii full coverage or deductible?    D Yes       [gj No      17. If deductible, state amount.




I only had liability, no collision coverage or medical payments benefits for my vehicle.
                                                                                                                       to your claim? (It is necessary that you ascertain these facts).
18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference




19. Do you carry public liability and property damage insurance?      D Yes       If yes, give name and address of insurance carrier (Number, Street City, State, and Zip Code).      [g] No




                                                                                        INSTRUCTIONS

                                                                                                            agency" whose
Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal
                                                                                                         should submit a separate
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant
claim form.

                                                          Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                     DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                              INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                     THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                     JWO YEARS AFTER THE CLAIM ACCRUES.

 Failure to completely execute this form or to supply the requested material within                The amount claimed should be substantiated by competent evidence as follows:
 two years from the date the claim accrued may render your claim invalid. A claim
 is deemed presented when it is received by the appropriate agency, not when it is                 (a) In support of the claim for personal injury or death, the claimant should submit a
 mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                   nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                   and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
 If instruction is needed in completing this form. the agency listed in item #1 on the reverse     hospital, or burial expenses actually incurred.
 side may be contacted. Complete regulations pertaining to claims asserted under the
 Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
                                                                                                   (b) In support of claims for damage to property, which has been or can be economically
 Many agencies have published supplementing regulations. If more than one agency is
                                                                                                   repaired, the claimant should submit at least two itemized signed statements or estimates
 involved, please state each agency.
                                                                                                   by reliable. disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                   receipts evidencing payment
 The claim may be filled by a duly authorized agent or other legal representative, provided
 evidence satisfactory to the Government is submitted with the claim establishing express
                                                                                                   (c) In support of claims for damage to property which is not economically repairable, or if
 authority to act for the claimant. A claim presented by an agent or legal representative
                                                                                                   the property is lost or destroyed, the claimant should submit statements as to the original
 must be presented in the name of the claimant. If the claim is signed by the agent or
                                                                                                   cost of the property, the date of purchase, and the value of the property, both before and
 legal representative, ii must show the title or legal capacity of the person signing and be
                                                                                                   after the accident. Such statements should be by disinterested competent persons,
 accompanied by evidence of his/her authority to present a claim on behalf of the claimant
                                                                                                   preferably reputable dealers or officials familiar with the type of property damaged, or by
 as agent, executor, administrator, parent, guardian or other representative.
                                                                                                   two or more competitive bidders, and should be certified as being just and correct.

 If claimant intends to file for both personal injury and property damage, the amount for
                                                                                                   (d) Failure to specify a sum certain will render your claim invalid and may result in
 each must be shown in item number 12 of this form.
                                                                                                   forfeiture of your rights.

                                                                                     PRIVACY ACT NOTICE

 This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and              B. Principal Purpose: The information requested is to be used in evaluating claims.
 concerns the information requested in the letter to which this Notice is attached.                C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
     A. Authority: The requested information is solicited pursuant to one or more of the              submitting this form for this information.
         following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.         D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
         Part 14.                                                                                     requested information or to execute the form may render your claim "invalid."

                                                                           PAPERWORK REDUCTION ACT NOTICE

                                                                                                                    this collection of information is estimated to average 6 hours per
 This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for
                                                                                                                     the data needed, and completing and reviewing the collection of
 response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining
                                                                                                                   including suggestions for reducing this burden, to the Director. Torts
 information. Send comments regarding this burden estimate or any other aspect of this collection of information,
                                                                                                                     or to the Office of Management and Budget. Do not mail completed
 Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530
 form(s) to these addresses.
                                                                                                                                             STANDARD FORM 95 REV. (2/2007) BACK
          Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 10 of 13
SF95: Donald Jones                                                 Continuation: Item 8 Basis of Claim



On September 1, 2015, at approximately 2:08 pm, Donald Jones was operating a motorcycle,
driving South on Shippan Avenue in Stamford, CT. The roads were clear and dry and it was
daylight. A USPS Mail Truck, VIN 1GBC510A7P2907899, struck Mr. Jones when the operator,
Michael Celetto, carelessly and negligently made an improper left turn from Park Street, onto
Shippan A venue, by not coming to a complete stop at the stop sign on Park Street, and by not
yielding to :Mr. Jones and allO\ving him to pass, before entering Shippan Avenue. Mr. Celetto
was operating the mail truck in the normal course of his duties. Mr. Jones was not exceeding the
speed limit. Further, Mr. Jones had the right-of-way on Shippan Avenue as he was traveling
straight South.

Mr. Celetto, driving the USPS mail truck, should have yielded to Mr. Jones and should not have
turned onto Shippan Avenue until after Mr. Jones had passed Park Street. It is clear that Mr.
Celetto did not come to a complete stop at the intersection, which was controlled by a stop sign
for Mr. Celetto. Mr. Celetto did not make a proper watch of the intersection and continued to
make a tum onto Shippan Avenue, despite Mr. Jones' approach towards the intersection.
However, Mr. Celetto did not merely turn left onto Shippan A venue. He turned and then instead
of heading straight South, he moved to the right-hand side of the road to stop his mail truck,
presumably, to make a mail delivery.
The collision and resulting injuries were caused by the negligence and carelessness of Mr.
Celetto in one or more of the following respects:
        a. In that he failed to make a reasonably safe left-hand tum in violation of Connecticut
           General Statutes, section 14-242; or
        b. In that he failed to bring his vehicle to a halt in obedience of a STOP sign in violation
           of Connecticut General Statutes, section 14-301; or
        c. In that he moved a vehicle which was stopped or standing without reasonable safety
           and without interfering with Mr. Jones' vehicle, in violation of Connecticut General
           Statutes, section 14-243, or
        d. In that he was traveling unreasonably fast having regard to the width, traffic use of
           the highway, intersection of streets, and weather conditions, in violation of
           Connecticut General Statutes, section 14-218a; or
        e. In that he failed to grant the right of way by pulling out of Park Street in violation of
           Connecticut General Statutes, section 14-246(a);
        f. In that he failed to timely apply the brakes in order to avoid the said collision; or
        g. In that he was inattentive and failed to maintain a proper lookout for other vehicles
           upon the roadway and pay attention to where he was going before pulling out; or
        h. In that he was distracted, and as a result of his distraction, smashed right into the path
           of Mr. Jones' motorcycle, causing him to be thrown from his vehicle.

 \Vhen Mr. Jones saw the mail-truck enter the roadway in front of him, he tried to maneuver his
 vehicle around the truck to the right, since he had no other maneuvering room and couldn't head
 into opposing traffic. However, the mail truck continued to veer towards the right, and thus
 collided with Mr. Jones. His motorcycle was hit and pushed and Mr. Jones was thrown from the
 motorcycle and flew through the air where he collided with a utility pole.
                                                                                      Page113
           Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 11 of 13
SF95: Donald Jones                                                  Continuation: Item 8 Basis of Claim



Mr. Jones was an experienced motorcycle operator, and was within Connecticut law to not wear
a helmet. Although Mr. Jones' head did impact the pole and he received a very large injury to his
forehead requiring multiple sutures and which has left a significant visible scar and bump, the
most significant damage from the collision was to Mr. Jones' lower extremities. Mr. Jones' left
leg was severely damaged. His left leg was left with compound and comminuted fractures,
classified as a grade I open tibia and fibula fracture and a lateral tibial plateau fracture. In
addition, Mr. Jones had breaks in both of his feet and to several toes. He also received severe
abrasions on both his arms and legs and both his ankles were severely sprained.
At the time of the accident, Mr. Jones was thirty-eight years old. At the time of the accident, Mr.
Jones could have expected to live, on average, another forty years.
Mr. Jones is left with multiple scars all over his body. His face has a large visible scar and bump
on the left side of his forehead. The abrasions he received on his arms, hands and knees left
scaring there as well. He has visible scars on the underside of his left arm and on the backs of
both his hands, as well as on his knees. His left leg has multiple scars, from the bones which
protruded through the skin, from the incisions where rods were placed during surgery to repair
the fractures, and abrasions.

Mr. Jones spent ten days in the hospital, where he had limited access to his family. His then
twelve-year-old son came to visit, but it was extremely upsetting to him to see his father in such
pain. Mr. Jones' mother has medical issues and had limited ability to come back and forth to the
hospital, so he spent much of his time without the company of his family.

After his stay in the hospital was done, he was transferred immediately to a rehabilitation
facility, where he stayed for twenty days. As a result, he was not home for almost one full month
after the accident.
Following his discharge from the rehabilitation facility, he was not able to have any weight-
bearing activity for six to eight months. Mr. Jones' bedroom is on the second story of the two-
story house he shares with his mother. He was unable to go up and down the stairs, and he barely
left his bedroom. If his mother wasn't at home, or someone didn't bring him food to eat, he went
hungry until food could be brought up to him.
It was one full year before Mr. Jones could walk steadily. The injuries sustained in the accident
have had a far-reaching negative effect on Mr. Jones and his quality of life. He can tell when the
weather is changing and at those times can feel every broken bone and sprain he suffered.
Mr. Jones can no longer kneel down except for very brief periods, making yard work painful if
not impossible. He has just started to mow his lawn again, but it takes him longer and hrnis, but
he knows that it must be done. This past winter, it was necessary to shovel the walk and part of
the driveway several times. He did what he could, but it wasn't easy for him and it caused him
great pain.
Mr. Jones used to be able to walk for an hour without tiring, now he tires after 15 minutes of
simple walking. He is especially limited in how he interacts with his son. He used to be able to
toss a baseball, or a football with his son, or play a little basketball. Those things are impossible
                                                                                      Page213
           Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 12 of 13
SF95: Donald Jones                                                 Continuatio n: Item 8 Basis of Claim



for him now, because he is too unsteady on his feet. He used to take his son fishing in the woods,
something Mr. Jones himself had been doing since his own childhood, but he can no longer do
that. A walk through the woods on uneven ground is too difficult and dangerous to him. It
continues to hurt him simply to put his shoes on.

At the time of the accident Mr. Jones had been previously diagnosed with a medical condition
called avascular necrosis. In this condition, blood flow to certain bones is restricted, causing the
bone to weaken and causing pain. Prior to the accident, Mr. Jones had undergone a procedure to
replace his right hip. He took medication daily which kept his pain under control. Despite that,
he was ultimately a happy man who had a positive outlook on life.

As a result of the accident, Mr. Jones is in constant pain. He lives a very different life now. He
asks himself about everything he does: do I have to, will it hurt, is it safe? He also has a
significant phobia about USPS mail trucks. He doesn't like to see them.

In short, Mr. Jones used to have a relatively nom1al life, in which he could take long walks, play
ball with his son, go fishing on occasion, shovel the walk without pain in the winter and mow his
lawn in the summer. Although he had a medical condition, it was being monitored and under the
care of his physicians, and it was under control. None of the things he used to do for fun
activities are possible now, or if they are, they cause him severe pain and can only be done for a
very limited period of time. His pain is near constant and he must take pain medication
constantly. His medical condition has been exacerbate d and his physical deterioration has been
accelerated.

The exhibits submitted, herewith, are incorporated into this claim as if fully set forth herein.




                                                                                       Page 313
         Case 3:18-cv-00336 Document 1 Filed 02/26/18 Page 13 of 13



UNITED STIJTES
POST/ll SERVICE



September 7, 2017



Mr. Daniel Benjamin
Benjamin, Gold & Troyb, P.C.
350 Bedford Street, Suite 403
Stamford, CT 06901

Re:     Your Client:            Donald Jones
        Date of Incident:       September 1, 2015

Dear Mr. Benjamin:

Please be advised that the administrative claim filed on behalf of Donald Jones with
the United States Postal Service on August 2, 2017 has been assigned to my office
for adjudication.

I am currently in the process of reviewing this claim in order to make the
determination as to any legal liability on the part of the Postal Service for the injuries
sustained by your client. This claim will be adjudicated as soon as possible, but be
aware that the Postal Service has six months from August 2, 2017 in which to
adjudicate this claim. Should you have any additional information you wish to submit
that would be helpful in the review of this matter, please forward same to my
attention at the National Tort Center, United States Postal Service, 1720 Market
Street, Room 2400, St. Louis, Missouri 63155-9948.

Sincerely,

 frl.


M. Kevin Coffey
Attorney
212-330-5423

cc:     Jacqueline Slay
        Tort Claim Coordinator
        File No.: 061-15-0964A




 720        STREET,      2400
ST. LOUIS, MO 63155-9948
TEL 314/345-5820
FAX 314/345-5893


                                EXHIBIT B
